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 Fill in this information to identify you case:                                                                              For amended plans only:
                                                                                                                                 Check if this amended plan is filed
 IN THE UNITED STATES BANKRUPTCY COURT                                                                                       prior to any confirmation hearing.
 FOR THE EASTERN DISTRICT OF TEXAS                                                                                              Check if this amended plan is filed in
                                                                                                                             response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
                                                                                                                             denial.
 Debtor 1                Mike Ahlers
                         First Name             Middle Name            Last Name                                             List the sections which have been
                                                                                                                             changed by this amended plan:
                                                                                                                                   3.2;3.3
 Debtor 2                Sondra Ahlers
 (filing spouse)         First Name             Middle Name            Last Name


 Case Number:                 19-50152


TXEB Local Form 3015-a
                                                                     AMENDED CHAPTER 13 PLAN

                                                                                                                                                      Adopted: Dec 2017
 Part 1:                    Notices
To Debtor1:                This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be
                           appropriate in some cases, but the presence of an option on the form does not indicate that the option is appropriate
                           in your circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the
                           master mailing list (matrix) of creditors as constituted by the Court on the date of service and evidence that
                           service through a Certificate of Service affixed to this document that attaches a copy of the matrix of
                           creditors which you served. The most current matrix in this case is available under the “Reports” tab of the
                           CM-ECF system.
To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
                           do not have an attorney, you may wish to consult one.
                           If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an
                           objection to confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date
                           set for the plan confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued
                           in this case. The objection period may be extended to 7 days prior to the confirmation hearing under the
                           circumstances specified in LBR 3015(f). In any event, the Court may confirm this plan without further notice if no
                           objection to confirmation is timely filed.
                           Regardless of whether you are listed in the Debtor’s matrix of creditors or in the Debtor’s schedules, you must
                           timely file a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the
                           Notice of Chapter 13 Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the
                           Trustee’s next scheduled distribution date after the Effective Date of the Plan. See § 9.1.
                           The Debtor must check one box on each line to state whether or not the plan includes each of the following items.
                           If an item is checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set out
                           later in the Plan.
 1.1            A limit on the amount of an allowed secured claim through a final                                              Included               Not Included
                determination of the value of property constituting collateral for such claim,
                as set forth in § 3.10 of this Plan, which may result in a partial payment or
                no payment at all to the secured creditor.
 1.2            Avoidance of a judicial lien or a nonpossessory, nonpurchase-money                                             Included               Not Included
                security interest, as set forth in § 3.9 of this Plan.


1
    The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.

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 1.3            Potential termination and removal of lien based upon alleged unsecured                     Included        Not Included
                status of claim of lienholder, as set forth in § 3.11 of this Plan.
 1.4            Nonstandard provisions as set forth in Part 8.                                             Included        Not Included

 Part 2:                    Plan Payments and Length of Plan
2.1          The applicable commitment period for the Debtor is 60 months.
2.2 Paymen                t Schedule.
             Unless the Court orders otherwise, beginning on the 30th day after the Petition Date2 or the entry date of any order
             converting this case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the
             applicable commitment period and for such additional time as may be necessary to make the payments to claimants specified
             in Parts 3 through 5 of this Plan (the “Plan Term”). The payment schedule shall consist of:

                   Constant Payments: The Debtor will pay $                     per month for    months.
                  Vari able Payments: The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for
                 such variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.
2.3 Mo             de of Payment. Regular payments to the Trustee will be made from future income in the following manner:
             [Check one]
                   Debtor will make payments pursuant to a wage withholding order directed to an employer.
                   Debtor will make electronic payments through the Trustee’s authorized online payment system.
                   Debtor will make payments by money order or cashier’s check upon written authority of the Trustee.
                   Debtor will make payments by other direct means only as authorized by motion and separate court order.
2.4          Income tax refunds.
             In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
             required to:
                    (1) supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to
                        the Trustee within 14 days of filing the return; and
                    (2) remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan
                        term which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up
                        to $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee
                        under this Plan at the time of the receipt of such tax refund.
             The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during
             the plan term.
2.5 Addi            tional payments. [Check one]
                   None. If "None" is checked, the rest of § 2.5 need not be completed.

2.6       Plan Base.
             The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is $113,156.00 which, when combined with any income
             tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds
             received by the Trustee on the Debtor’s behalf during the Plan Term, constitutes the “Plan Base.”
 Part 3:                    Treatment of Secured Claims
3.1          Post-Petition Home Mortgage Payments. [Check one]
                     No Home Mortgage. If “No Mortgage” is checked, the remainder of § 3.1 need not be completed.
                   Home Mortgage Maturing Before or During Plan Term. If “Mortgage Maturing” is checked, the claim will be
                    addressed in § 3.4. The remainder of § 3.1 need not be completed.
                   Direct Home Mortgage Payments by Debtor Required.


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             On the Petition Date2, the Debtor owed the following claims secured only by a security interest in real property that is the
             Debtor’s principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims
             (other than related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition
             contract, including any rate changes or other modifications required by such documents and noticed in conformity with any
             applicable rules, as such payments become due during the Plan Term. The fulfillment of this requirement is critical to the
             Debtor’s reorganization effort. Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan
             Term may preclude confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may
             preclude the issuance of any discharge order to the Debtor under § 1328(a)3. The Trustee will monitor the Debtor's
             fulfillment of this direct payment obligation ("DPO").
              Mortgage Lienholder                                            Property Address                              Monthly Payment           Due Date of
                                                                                                                           Amount by Debtor           Monthly
                                                                                                                                                      Payment
  1.                                                            1063 CR 3320 Mount Pleasant, TX 75455                                $1,458.00 1st
 First Federal Community Bank                                   Titus County                                             Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other
3.2          Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]
                   None. If “None” is checked, the remainder of § 3.2 need not be completed.
                  Cure Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon
             obligations arising under an executory contract or an unexpired lease that the Debtor has elected to assume under § 6.1 of this
             Plan. While remaining current on all direct payment obligations (future installment payments) as each comes due under the
             applicable contractual documents during the plan term (a “DPO”), the Debtor shall cure all such delinquencies through the
             Plan as listed below (a “Cure Claim”). Each listed claim constitutes a separate class. The total amount of each allowed Cure
             Claim will be paid in full by the Trustee. The Trustee is authorized to initiate monthly payments on an interim basis based
             upon the projected amount of each Cure Claim listed below until such time as the allowed amount of each Cure Claim is
             established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of
             claim, or the final determination by the Court of any objection thereto, shall control over any projected Cure Claim amount
             listed below. No interest will be paid on any Cure Claim in the absence of documentary proof that the applicable contractual
             documents entitle the claimant to receive interest on unpaid interest.
             If the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next
             distribution by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay
             termination. If the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be
             released to the holder of the Cure Claim and regular distributions on that Cure Claim shall be reinstituted. In the event that
             the stay termination remains in effect on the second distribution date after the stay termination, the escrowed funds shall be
             released for distribution to other classes under this Plan and the Cure Claim shall thereafter be addressed solely under
             applicable state law procedures and will no longer be treated by the Plan. The completion of payments contemplated in this
             subsection constitutes a cure of all defaults of the Debtor’s obligation to each listed claimant.
            Claimant                     Collateral/Property/Contract Debtor's DPO Projected    Plan                              Projected Projected Total
                                                  Description           Amount     Cure Claim Interest                             Monthly   Cure Payment
                                                                                    Amount     Rate                                Payment    by Trustee
                                                                                                                                  by Trustee
 1.                                     1063 CR 3320 Mount                           $1,458.00           $7,000.00 0.00%                PRO        $7000.00
 First Federal                          Pleasant, TX 75455 Titus                                                                      RATA
 Community Bank                         County
     Debt Maturing
 During Plan Term.
     Debt Maturing
 After Completion of
 Plan Term.


2
 The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.
3
 All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.
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            Claimant                     Collateral/Property/Contract Debtor's DPO Projected    Plan                          Projected Projected Total
                                                  Description           Amount     Cure Claim Interest                         Monthly     Cure Payment
                                                                                    Amount     Rate                            Payment      by Trustee
                                                                                                                              by Trustee
           Claimant                          Collateral              Adequate       Total Claim       Collateral     Plan        Equal        Projected
                                             Description             Protection      Amount            Value       Interest    Monthly          Total
                                                                      Payment                                        Rate     Payment by     Payment by
                                                                                                                                Trustee        Trustee
 1.                                                                         $0.00        $905.31             NA 12.00%            pro rata          $1207
 Titus Co Hosp Dist                                                  Month 1
                                                                     through
 2.                                                                         $0.00     $1,541.28              NA 12.00%            pro rata                    $2054
 Titus County Tax                                                    Month 1
 Office                                                              through
 3.                                                                         $0.00     $1,153.05              NA 12.00%            pro rata                    $1538
 NE Tx Com Coll Dist                                                 Month 1
                                                                     through
             Insert additional claims as needed.

3.3          Secured Claims Protected From § 506 Bifurcation. [Check one]
                   None. If “None” is checked, the remainder of § 3.3 need not be completed.
                   910 Claims. The claims listed below were either:
               (1) incurred within 910 days before the Petition Date and secured by a purchase money security interest in a motor vehicle
                   acquired for the personal use of the Debtor, or
               (2) incurred within 1 year of the Petition Date and secured by a purchase money security interest in any other thing of value,
                   and are thus statutorily protected from bifurcation under § 506(a) based on collateral value (a “910 Claim”).
             Based upon the Debtor’s election to retain certain personal property that serves as collateral for a 910 Claim, adequate
             protection payments in an initial amount calculated pursuant to LBR 3015(c)(1) shall be paid by the Debtor to the Trustee
             beginning in Month 1 of the Plan for the benefit of holders of allowed 910 Claims secured by personal property as authorized
             by § 1326(a)(1)(C) and LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected
             secured creditor to the absolute exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the
             earliest practicable time to holders of allowed 910 Claims secured by personal property as listed below, notwithstanding any
             failure by the Debtor to achieve confirmation of this Chapter 13 plan. Adequate protection payments to be distributed by the
             Trustee are subject to the availability of funds and the Trustee is authorized to make pro rata payments if available funds are
             insufficient to pay all adequate protection payments otherwise due. Such adequate protection payments to each affected
             secured claimant shall continue on a monthly basis until the month in which equal monthly payments are initiated to such
             claimant under the Plan.
             Each 910 Claim constitutes a separate class. Each 910 Claim will be paid in full by the Trustee with post-confirmation
             interest accruing from the Effective Date of the Plan at the plan rate stated below. Upon confirmation of this Plan, the
             Trustee is authorized to initiate monthly payments on an interim basis based upon the projected amount of each 910 Claim
             listed below until such time as the allowed amount of each 910 Claim is established by the filing of a proof of claim in
             accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of
             any objection thereto, shall control over any projected 910 Claim amount.
             If the automatic stay is terminated as to property securing a 910 Claim treated under this subsection at any time during the
             Plan Term, the next distribution by the Trustee on such 910 Claim shall be escrowed pending any possible reconsideration of
             the stay termination. If the stay termination is reversed by agreement or by court order, then the single escrowed distribution
             shall be released to the holder of the 910 Claim and regular distributions on that 910 Claim shall be reinstituted. In the event
             that the stay termination remains in effect on the second distribution date after the stay termination, the escrowed funds shall
             be released for distribution to other classes under this Plan and the 910 Claim shall thereafter be addressed solely under
             applicable state law procedures and will no longer be treated by the Plan.



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            Claimant                          Collateral Description          Adequate           910 Claim     Plan        Equal            Projected
                                                                              Protection          Amount     Interest    Monthly              Total
                                                                               Payment                        Rate      Payment by         Payment by
                                                                                                                          Trustee            Trustee
 1.                                     1063 Co Rd Mount Pleasant,                     $0.00     $37,199.00 10.25%          $794.95             $47,698
 Ovation                                TX 75455 Titus County                Month 1
                                        4 mobile home, tax debt              through

 2.                                     Judgement                                      $0.00      $9,745.78 0.00%          pro rata               $9745.78
 OzarkRentals                                                                Month 1
                                                                             through

 3.                                     judgement                                      $0.00     $11,375.85 0.00%          pro rata             $11,375.85
 OzarkRentals                                                                Month 1
                                                                             through

             Insert additional claims as needed.
3.4          Secured Claims Subject to § 506 Bifurcation.
             [Check one]
                   None. If “None” is checked, the remainder of § 3.4 need not be completed.
                 Claims Subject to Bifurcation. The secured portion of each claim listed below (a “506 Claim”) is equivalent to the
             lesser of: (1) the value of the claimant’s interest in the listed collateral or (2) the allowed amount of the claim. Each listed 506
             Claim constitutes a separate class. Each 506 Claim will be paid by the Trustee with post-confirmation interest accruing from
             the Effective Date of the Plan at the plan rate stated below. If a 506 Claim is established as an oversecured claim, its holder is
             entitled to an additional component of pre-confirmation interest calculated at the contract rate and payable for the period from
             the Petition Date to the earlier of: (1) the Effective Date of the Plan, or (2) the date upon which the aggregate of such
             interest, plus the allowed amount of the 910 Claim, exceeds the value of the collateral. Such holder is responsible for
             establishing the oversecured amount and the applicable contract rate by sufficient evidence that is either satisfactory to the
             Trustee or otherwise by court order.
             Based upon the Debtor’s election to retain certain personal property that serves as collateral for a 506 Claim, adequate
             protection payments in an initial amount calculated pursuant to LBR 3015(c)(1) shall be paid by the Debtor to the Trustee
             beginning in Month 1 of the Plan for the benefit of holders of allowed 506 Claims secured by personal property as authorized
             by § 1326(a)(1)(C) and LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected
             secured creditor to the absolute exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the
             earliest practicable time to holders of allowed 506 Claims secured by personal property as listed below, notwithstanding any
             failure by the Debtor to achieve confirmation of this Chapter 13 plan. The Trustee shall apply adequate protection payments
             first to accrued interest, if applicable, and then to principal. Adequate protection payments to be distributed by the Trustee are
             subject to the availability of funds and the Trustee is authorized to make pro rata payments if available funds are insufficient
             to pay all adequate protection payments otherwise due. Such adequate protection payments to each affected secured claimant
             shall continue on a monthly basis until the month in which equal monthly payments are initiated to such claimant under the
             Plan.
             Unless the Debtor invokes § 3.10 of this Plan to obtain a final valuation determination at the confirmation hearing regarding
             any listed 506 Claim, or an agreement with the holder of any listed 506 Claim regarding the value of its collateral is
             otherwise incorporated into the confirmation order, the value of collateral securing each 506 Claim is not finally determined
             upon the confirmation of this Plan. Upon confirmation of this Plan, however, the Trustee is authorized to initiate monthly
             payments on an interim basis based upon the projected Collateral Value of each 506 Claim as listed below until such time as
             the allowed amount of each such 506 Claim is established by the filing of a proof of claim in accordance with the Bankruptcy
             Rules. The amount listed in that proof of claim, or the final determination by the Court of any objection thereto, or the
             subsequent entry of an order granting a separate motion for valuation of collateral pursuant to § 506 and Bankruptcy Rule
             3012, shall control over any projected Collateral Value amount listed below.
             If the automatic stay is terminated as to the property securing a 506 Claim at any time during the Plan Term, the next
             distribution by the Trustee on such 506 Claim shall be escrowed pending any possible reconsideration of the stay termination.
             If the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to
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             the holder of the 506 Claim and regular distributions on that 506 Claim shall be reinstituted. In the event that the stay
             termination remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released
             for distribution to other classes under this Plan and the 506 Claim shall thereafter be addressed solely under applicable state
             law procedures and will no longer be treated by the Plan.

             Insert additional claims as needed.

3.5          Direct Payment of Secured Claims Not in Default. [Check one]
                   None. If “None” is checked, the remainder of § 3.5 need not be completed.
3.6 Surrender                  of Property. [Check one]
                   None. If “None” is checked, the remainder of § 3.6 need not be completed.
3.7 Lien              Retention.
             The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the
             indebtedness secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a
             lien securing payment of any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of:
             (1) the total satisfaction of the indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2)
             the entry of a discharge order in favor of the Debtor under § 1328(a). In each instance, the provisions of this subsection may
             be superseded by a subsequent order of the Court.
3.8          Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.
             For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this
             Plan, the Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the
             indebtedness or as may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be
             retained by the Debtor under this Plan as they come due in the post-petition period. Such payment shall be tendered to the
             appropriate taxing authorities in accordance with applicable non-bankruptcy law on or before the last date on which such
             taxes may be paid without penalty.
3.9 L           ien Avoidance. [Check one]
                   None. If “None” is checked, the remainder of § 3.9 need not be completed.
3.10         Rule 3012 Valuation of Collateral. [Check one]
                   None. If “None” is checked, the remainder of § 3.10 need not be completed.
             The remainder of this subsection will be effective only if the “Included” box is checked in § 1.1 of this Plan.
             Further, the invocation of this subsection mandates an evidentiary hearing on the “call” docket of the Court at which the
             Debtor must demonstrate: (1) service of this Plan upon any claimant affected by this subsection in strict compliance with
             the requirements of Bankruptcy Rule 7004 for service of a summons and a complaint, (2) a credible, objective basis for
             the Debtor’s opinion regarding asset values that is subject to corroboration from independent sources; and (3) an
             entitlement to the relief sought by a preponderance of the evidence presented.
                 Final Determination of Collateral Value. The Debtor seeks a final determination of the value of each of the following
             assets to establish the allowed 506 Claim of each listed claimant for the purposes of § 3.4 of this Plan. Such an expedited
             final determination at the confirmation hearing is binding upon that listed claimant, notwithstanding any contrary proof of
             claim which might be subsequently filed by the claimant, any objection filed thereto, or any value otherwise referenced in the
             Debtor’s schedules.
                       Claimant                                          Collateral Description       Debtor's Asserted Collateral Value




             Insert additional claims as needed.
3.11         Lien Removal Based Upon Unsecured Status. [Check one]
                   None. If “None” is checked, the remainder of § 3.11 need not be completed.
             The remainder of this subsection will be effective only if the “Included” box is checked in § 1.3 of this Plan.
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             Further, the invocation of this subsection mandates an evidentiary hearing on the “call” docket of the Court at which the
             Debtor must demonstrate: (1) service of this Plan upon any claimant affected by this subsection in strict compliance with
             the requirements of Bankruptcy Rule 7004 for service of a summons and a complaint; (2) a credible, objective basis for
             the Debtor’s opinion regarding asset values that is subject to corroboration from independent sources; and (3) an
             entitlement to the relief sought by a preponderance of the evidence presented.
                 Unsecured Treatment and Prospective Lien Removal. The Debtor asserts that the aggregate amount of indebtedness
             secured by liens upon the referenced real property that are senior in priority to that held by the referenced claimant-lienholder
             exceeds the total value of the property. The Debtor therefore proposes that the referenced claimant will receive no
             distributions as a secured claim under this Plan, but rather will receive distributions solely as an allowed general unsecured
             claim under § 5.2 of the Plan.
             Upon the Debtor’s completion of all payments due under the Plan, the referenced lien is terminated and removed and the
             lienholder is required to execute and record a full and unequivocal release of its liens, encumbrances, and security interests
             secured by the referenced property and to provide a copy of the release to the Debtor and the Debtor’s counsel.
             Notwithstanding the foregoing, the holder of a lien that secures post-petition homeowners’ association fees and assessments
             will be allowed to retain its lien, but only to secure (i) post-petition assessments; and (ii) other post-petition amounts, such as
             legal fees, if such other post-petition amounts are (a) incurred with respect to post-petition fees and assessments; and (b)
             approved by the Court, if incurred during the pendency of the bankruptcy case.
                       Claimant                                            Property Address                       Debtor's Asserted Value

                       Senior Lienholders as to Property                                          Amounts Owed to Senior Lienholders
                                                                                     $0.00

 If more than one junior lien is unsupported by collateral value, provide the information separately for each lien.

 Part 4:                    Treatment of Administrative Expenses, DSO Claims and Other Priority Claims
4.1 General
             All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full
             without post-confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim
             basis based upon the projected amount of each priority claim listed below until such time as the allowed amount of each
             priority claim is established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in
             that proof of claim, or the final determination by the Court of any objection thereto, shall control over any projected priority
             claim amount listed below.
4.2 Trustee’s                Fees.
             The Trustee’s fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant
             thereto, shall be promptly collected and paid from all plan payments received by the Trustee.
4.3 At           torney’s Fees.
             The total amount of attorney’s fees requested by the Debtor’s attorney in this case is $4,000.00. The amount of $500.00 was
             paid to the Debtor’s attorney prior to the Petition Date. The allowed balance of attorney’s fees will be paid by the Trustee
             from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4 of
             this Plan.
             The allowed balance of attorney’s fees to be awarded to the Debtor’s attorney in this case shall be determined by:
                   LBR 2016(h)(1);                  by submission of a formal fee application.
                    LBR 2016(h)(1): If the attorney’s fee award is determined by the benchmark amounts authorized by LBR 2016(h), the
                    total fee shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor’s attorney
                    regarding the rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee
                    Period outlined in that rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper
                    enhancement or reduction of the benchmark amount in this case without the necessity of court order. No business case
                    supplement to the benchmark fee shall be recognized unless a business case designation is granted on or before initial
                    confirmation of the Plan.


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                    Fee Application: If attorney’s fee award is determined by the formal fee application process, such fee application shall
                    be filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no
                    application is filed within that period, the determination of the allowed amount of attorney’s fees to the Debtor’s attorney
                    shall revert to the benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice
                    or hearing and the Trustee shall adjust any distributions in this class accordingly.
4.4          Priority Claims: Domestic Support Obligations ("DSO"). [Check one]
                   None. If “None” is checked, the remainder of § 4.4 need not be completed.
4.5          Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]
                   None. If “None” is checked, the remainder of § 4.5 need not be completed.
4.6          Priority Claims: Taxes and Other Priority Claims Excluding Attorney’s Fees and DSO Claims. [Check one].
                   None. If “None” is checked, the remainder of § 4.6 need not be completed.


 Part 5:                    Treatment of Nonpriority Unsecured Claims
5.1          Specially Classed Unsecured Claims. [Check one]
                   None. If “None” is checked, the remainder of § 5.1 need not be completed.
5.2          General Unsecured Claims.
             Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:
                   100% + Interest at 0.00%;
                   100% + Interest at 0.00% with no future modifications to treatment under this subsection;
             X Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified unsecured claims.
5.3          Liquidation Analysis: U nsecured Claims Under Parts 4 & 5.
             If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority
             unsecured claims under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be
             paid an aggregate sum of approximately $50249.25. Regardless of the particular payment treatments elected under Parts 4
             and 5 of this Plan, the aggregate amount of payments which will be paid to the holders of allowed unsecured claims under
             this Plan will be equivalent to or greater than this amount.
 Part 6:                    Executory Contracts and Unexpired Leases
6.1          General Rule – Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED and will
             be treated as specified in § 3.2 of the Plan. All other executory contracts and unexpired leases of the Debtor are
             REJECTED.
          [Check one.]
                   None. If “None” is checked, the remainder of § 6.1 need not be completed.

 Part 7:                    Vesting of Property of the Estate
7.1          Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence
             of a court order to the contrary.
 Part 8:                    Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 8 need not be completed.

 Part 9:                    Miscellaneous Provisions
9.1 Effecti    ve Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
         nonappealable order.


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Sondra Ahlers                                                                                                         Case number      19-50152

9.2          Plan Disbursement Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in
             the following order: (1) Trustee’s fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3)
             allowed attorney fees under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under
             §§ 4.4 and 4.5 concurrently; (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and
             (8) general unsecured claims under § 5.2.
9.3          Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated
             without the consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the
             Debtor, or any attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any
             authorized exemption claim of the Debtor, with the remainder of the funds dedicated as an additional component of the plan
             base.
                                                                              Exhibit A
      The debtor will pay $625.00 for first 4 month(s),
      $1,976.00 each month for next 56 month(s)


 Part 10:                   Signatures

 /s/ Rodney McDaniel                                                                         Date   January 5, 2020
 Rodney McDaniel
 Signature of Attorney for Debtor(s)


                                                                                             Date




 Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording and order
of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than any nonstandard
provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions other than those included
in Part 8.



    CERTIFICATE                                                            OF SERVICE

       I, Rodney McDaniel, hereby certify that a true and correct copy of the attached Chap 13 Plan has
been served on the Chapter 13 Trustee, by electronic mail and on all interested creditors on the attached matrix
by U. S. Mail, or electronic mail, on this 5th day of Jan., 2020.

                                                                               /s/ Rodney McDaniel
                                                                               Rodney McDaniel




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